Case 2:13-cV-00276-PD Document 36 Filed 10/28/13 Page 1 of 24

IN THE UNITED STATES DISTRICT COURT
FOR TI-IE EASTERN DISTRICT OF PENNSYLVANIA

 

TBF FINANCIAL, LLC : CIVIL ACTION NO. 13-cv-276
520 Lake Cook Rd., Suite 510 :
Deerfleid, IL 60015

Plaintiff
v.
PENN LIBERTY BANK
724 West Lancaster Ave., Suite 210
Wayne, PA 19087

Defendant

 

ORDER

lt is hereby ORDERED and DECREED that Summary Judgment is GRANTED in favor
of Defendant, Pelm Liberty Bank and that Plaintiff, TBF Finaneial, LLC’s, claims against Penn
Liberty Banl<; are dismissed With prejudice

BY THE COURT:

 

 

Case 2:13-cV-00276-PD Document 36 Filed 10/28/13 Page 2 of 24

lN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

TBF FINANCIAL, LLC : CIVIL ACTION NO. l3~cv~276
520 Lake Cool{ Rd., Suite 510 :
Deertield, IL 60015

Plaintiff
v.
PENN LIBERTY BANK
724 West lancaster AVe., Suite 210
Wayne, PA 19087

Defendant

 

DEFENDANT, PENN LIBERTY BANK’S MOTION FOR
SUMMARY JUDGMENT PURSUAN'I` TO F.R.C.P. 56

Defendant, Penn Liberty Banl< moves this Honorable- Court for summary judgment
pursuant to Federal Rule of Civil Procedure (hereinafter referred to as “Fed. R. Civ. P.”) 56 and,
in support thereof, represents as follows:

1. On January 16, 2013, TBF Financial, LLC (hereinafter referred to as “Plaintift” or

“TBF”) tiled a civil action Complaint alleging unjust enrichment against Defendant, Penn
Liberty Bank (hereinafter, “Defendant” or "Penn Liberty“), in the United States District Court for
the Eastern District of Pennsylvania.

2. On March 22, 2013, Defendant filed a Motion to Disrniss Plaintift`s Cornplaint
for failure to state a claim upon Which relief may be granted.

3. On April 3, 2013, Plaintiff filed an Amended Complaint against Penn Liberty
asserting a cause of action for an equitable lien. A true and correct copy of Which is attached

hereto and incorporated by reference herein as Exhibit "A.”

 

Case 2:13-cV-00276-PD Document 36 Filed 10/28/13 Page 3 of 24

4. On April 17, 2013, Defendant filed a Motion to Disrniss Plaintiff s Arnended
Complaint for failure to state a claim upon Which relief may be granted

5. By Order dated June 13, 2013, this Honorable Court denied Defendant’s motion
to dismiss

6. Defendant filed its AnsWer to Amended Complaint With Affirrnative Defenses on
June 24, 2013, a true and correct copy of Which is attached hereto and incorporated by reference

herein as EXhibit “B.”.

I. FACTUAL BACKGROUND
7. On or about Decernber 11, 2002, Waypoint Bank (hereinafter referred to as

“Waypoint”) loaned Five Hundred Thousand Dollars ($500,000.00) to the Reinharts (hereinafter
referred to as the “Waypoint Loan"’) and the Reinharts executed a Promissory Note evidencing
their obligation to repay said loan (hereinafter referred to as the “Waypoint Note”). A true and
correct copy of the Waypoint Note is attached as Exhihit “A” to Plaintiff’ s Amended Cornplaint
and incorporated herein by reference

8. As security for said loan, the Reinharts delivered to Waypoint a mortgage on the
property dated December 11, 2002 (hereinafter referred to as the “Waypoint Mortgage”). A true
and correct copy of the Waypoint Mortgage is attached as Exhibit “B” to Plaintift` s Arnended
Cornplaint and incorporated herein by reference

9. On or about January 21, 2005, Sovereign Bank, N.A. (hereinafter referred to as
“Sovereign”) acquired Waypoint and, through this transaction, acquired Waypoint’s right, title
and interest in the Reinhart Note and Mortgage. (See, Exhibit “A”, jj 9)(the Waypoint Loan,
Note and Mortgage are hereinafter referred to as the Sovereign Loan, Note and Mortgage,

respectively.)

 

Case 2:13-cV-00276-PD Document 36 Filed 10/28/13 Page 4 of 24

10. On or about February 28, 2007, Penn Liberty loaned Seven Hundred Fifi:een
Thousand Dollars ($715,000.00) to Nicholas J . and Denise G. Reinhart (hereinafter referred to as
the “Reinharts”). Said loan Was evidenced by a Credit Agreement and Disclosure. A true and
correct copy of the Credit Agreement and Disclosure is attached hereto and incorporated by
t reference herein as EXhibit "C."

11. As security for Penn Liberty’s loan, the Reinharts provided Penn Liberty a second
mortgage on the property located at 450 Hertzo g Valley Road, Denver, Pa. (hereinafter, “the
property”). A true and correct copy of the Open-End l\/Iortgage and Security Agreement
(hereinafter referred to as the “Penn Liberty Mortgage”) is attached hereto and incorporated by
reference herein as "D.“

12. Pursuant to the terms of the Penn Liberty Mortgage the Reinharts Were required to
obtain fire and extended insurance for the benefit of Penn Liberty for the insurable Value of the
subject property (See, Exhibit “D”, p. 4)

13. The Reinharts’ obligation to obtain fire and extended insurance for the benefit of
Penn Liberty is further evidenced by the February 28, 2007 Agreement to Provide lnsurance, a
true and correct copy of Wliich is attached hereto and incorporated by reference herein as Exhibit
¢¢E_,,

14, The Reinharts obtained the required insurance coverage through State Farm Fire
and Casualty Company (hereinafter referred to as “State Farm”), Policy No. 78-GU-2791-3,
Which identified Penn Liberty as mortgagee See, State Farm Declarations Sheet and Renewal
Certificates for Policy No. 78-GU~2791-3, true and correct copies of Which are attached hereto
and incorporated by reference herein collectively as Exhibit “F.”

15. On September 23, 2008, State F arm served notices of cancellation for Policy No.

78-GU-2791-3 on each of the following: the Reinharts, Sovereign and Penn Liberty at the

 

Case 2:13-cV-OO276-PD Document 36 Filed 10/28/13 Page 5 of 24

addresses maintained in State Farm’s records. (See, Affidavit of Jeff`rey LaPlante of State Farm,
jt 3, a true and correct copy of Which is attached hereto and incorporated by reference herein as
Exhibit “G.”) A true and correct copy of each Notice of Cancellation is attached hereto and
incorporated by reference herein collectively as Exhibit “H.”

16. On or about March 30, 2009 Sovereign entered into a Forbearance and
Modification Agreement With the Reinharts regarding the outstanding obligations under the
Sovereign Note (hereinaf`ter referred to as the “Reinhart loan”). A true and correct copy of the
Forbearance and Modification Agreement is attached hereto and incorporated by reference
herein as Exhibit "l."

i7. The Forbearance and Modification Agreement contains a confession of judgment
provision authorizing Sovereign to confess judgment against the Reinharts to recover all sums
due or owing under the agreement, as Well as costs of suit and reasonable attorneys’ fees. (See,
EXhibit “I”, p. 5, 11 26.)

18. On December 10, 2009, Erie Insurance Group (hereinafter referred to as “Erie”)
issued a fire insurance policy for the subject property Which identified Penn Liberty as the
Primary Residence-Mortgagee (hereinafter referred to as the “Erie Policy”). A true and correct
copy of the Erie Policy Declarations Page and amendments thereto are attached hereto and
incorporated by reference herein collectively as Exhibit "J. "

19. On April 9, 2010, a fire destroyed the Reinhart home located at the property
insured by the Erie Policy. (See, Exhibit “A”, {[ 17.)

20. Penn Lib erty made a claim under the Erie Policy for fire coverage benefits in
accordance With the terms of the contract for insurance issued by Erie.

21. On June 7, 2010, Erie issued a check to Penn Liberty in the amount of Seven

Hundred Thirty-Three Thousand, One Hundred Thirty-S even and 19/100 Dollars ($ 733,13 7.19)

 

Case 2:13-cV-OO276-PD Document 36 Filed 10/28/13 Page 6 of 24

representing the proceeds nom the Erie Policy to Which Penn Liberty was entitled as the named j
Primary Residence-Mortgagee. A true and correct copy of the check issued to Penn Liberty is
attached hereto and incorporated by reference herein as "K."

22. On June 11, 2010, Penn Liberty assigned its mortgage on the subject property to
Erie. A true and correct copy of the Assignrnent of Mortgage is attached hereto and incorporated
by reference herein as Exhibit "L."

23. in or about September, 2012, Sovereign engaged the Debt Exchange, Inc.
(hereinafter referred to as “Deth”) to soiicit bids from investors for the purchase of a charge-off
pool consisting of loans including the Reinhart loan (hereinafter referred to as the “Sovereign
Assets”).

24. On or before September 12, 2012, Deth uploaded to its website,
https://www.debtx.com/, a Terms of Sale Memorandurn and Asset Sumrnary which Set forth the
offering of the Sovereign Assets. A true and correct copy of the Terms of Sale Memorandurn
and Asset Summary are attached hereto and incorporated by reference herein as EXhibits “M”
and “N”, respectively

25. The Terms of Sale Memorandum further states that “[i]t is the Bidder’s sole
responsibility to perform its own due diligence and examine the Review Files to its satisfaction.”
(See, Exhibit “M”, p. 1.)

26. On September 12, 2012, Adam Boehrn, a principal in TBF, accessed the Deth
vvebsite and viewed the following documents relating to the Sovereign Assets offering: (a)
Terms of Sale Memorandum; (b) Asset Summary; (c) Asset Sale Agreement; and, (d) the due
diligence files and Excel summary of assets and balances which Sovereign provided to Deth.
(See, Affidavit of Jennifer Rernare of Deth, im 1 and 5, a true and correct copy of which is

attached hereto and incorporated by reference herein as Exhibit “O.”) A true and correct copy of

 

Case 2:13-cV-OO276-PD Document 36 Filed 10/28/13 Page 7 of 24

the Asset Sale Agreement and the pertinent portions of the Excel summary of assets and
balances, as produced by Deth, are attached hereto and incorporated by reference herein as
Exhibits “P” and “Q”, respectively.

27. The Excel summary of assets and balances identifies the Reinhart loan as one of
the loans included within the pool of Sovereign Assets. (See, Exhibit “Q.”)

28. On September 27, 2012 at 11:10 a.m., Adam Boehm viewed and/or downloaded
from the Deth website Update 6 - Possibie Secured Loan Status Update which Sovereign had
provided to Deth (hereinafter referred to as the “Status Update”) and which reads in pertinent
part as follows:

Nicholas Reinhart: Title search shows Sovereign lst, but

property subject to Sovereign’s mortgage burnt down

without insurance coverage listing Sovereign as

mortgagee Oniy land left. Loan documents include a

Note, Change in Terms Agreement, Mortgage, 2

l\/lodifications and a Forbearance Agreement.”
(See, Exhibit “O”, 11 5). A true and correct copy of said Status Update is attached hereto and
incorporated by reference herein as Exhibit “R.”

29. On September 27, 2012 at 1:11 p.m., Adarn Boehrn of TBF submitted to 136th a
sealed bid for the Sovereign Assets. A true and correct copy ofTBF’s sealed bid in connection
With regard to the Sovereign Assets is attached hereto and incorporated by reference herein as
Exhibit "S."

30. On that same date7 Adam Boehm forwarded an executed signature page of the
Asset Sale Agreement to Deth. A true and correct copy of the executed Asset Sale Agreement
signature page is attached hereto and incorporated by reference herein as Exhibit "T."

31. Deth sent Adam Boehm confirmation that TBF was the winning bidder for the

Sovereign Assets via email correspondence on September 28, 2012. A true and correct copy of

 

Case 2:13-cV-OO276-PD Document 36 Filed 10/28/13 Page 8 of 24

the September 28, 2012 correspondence is attached hereto and incorporated by reference herein
as Exhibit "U."

32. ln June, 2013, TBF engaged Weinstein Appraisal Group (hereinafter referred to
as “Weinstein”) to conduct an appraisal of the property. Weinstein issued a written report on
July l, 2013, in which it opined that the market value of the fee simple interest in the property as
of Iune 19, 2013 was Four Hundred Thousand Dollars ($400,000.00). A true and correct copy of
the relevant portions of the July l, 2013 Weinstein Appraisal Report is attached hereto and
incorporated by reference herein as Exhibit “V."

II. TBF’S CLAIMS

33. Plaintiff alleges that it has an equitable lien on and is entitled to the Erie Policy
proceeds paid to Penn Liberty in the amount of the Reinharts’ unpaid obligation to
Sovereign/TBF. (See, Exhibit “A.”)

34. ln paragraph 28 of the Amended Complaint, Plaintiff alleges that unless an
equitable lien is placed on the Erie Policy proceeds, Penn Liberty will be unjustly enriched and
“TBF’s rights as the first mortgagee will effectively be subrogated to Defendant’s as the second
mortgagee.” (See, Exhibit ?‘A.”)

III. BASIS FOR SUMMARY IUDGMENT

35. Under Pennsylvania law, where an adequate remedy at law consisting of
damages exists, a party in is not entitled to equitable relief. Weinstein v. JP Morgan
Chase/Chase Fin., 2013 U.S. Dist. LEXIS 65937 (E.D. Pa. l\/iay 8, 2013); Harold v. McGann,
406 F. Supp. 2d 562 (E.D. Pa. 2005).

36. TBF has an adequate remedy for damages at law, in the form of a confessed
judgment against the Reinharts and/or foreclosure on the property. Accordingly, Piaintiff is not

entitled to equitable relief.

 

Case 2:13-cV-OO276-PD Document 36 Filed 10/28/13 Page 9 of 24

37. Further, equitable relief will not be awarded in the absence of the unjust
enrichment of one of the parties. Weinstein v. JP l\/iorgan Chase/Chase Fin., 2013 U.S. Dist.

LEXIS 65937 (E.D. Pa. l\/iay 8, 2013); Harold v. McGann 406 F. Supp. 2d 562 (E.D. Pa. 2005).

 

3 8. Penn Liberty was contractually entitled to the proceeds of the Erie Policy and,
therefore, was not unjustly enriched by the receipt of said proceeds

39. Courts sitting in equity will not relieve a party from the consequences of its own
carelessness where there were available means which would have enabled the party to avoid the
mistake if reasonable care had been exercised First Pederal Sav. & Loan Ass’n. v. Swift1 457
Pa. 206, 321 A.2d 895, 1974 Pa. LEXIS 833 (1974); Home Owners' Loan Coro. v. Crouse, 151
Pa. Super. 259, 30 A.2d 330, 1943 Pa. Super. LEXIS 278 (1943).

40. In the present case, Sovereign acted carelessly by failing to ensure the existence
of a fire insurance policy on the property that identified Sovereign as a mortgagee or loss payee.
TBF was fully aware of the lack of insurance for Sovereign prior to its purchase of the Sovereign
Assets. (See, Exhibit “O”, 1[ 5 and Exhibit “R.”)

41. Further, TBF acted carelessly by failing to conduct a due diligence review of the
Reinha;rt loan and/or any independent research regarding the obligors or the loan. (See, pertinent
portions of the deposition testimony of Robert Boehm, Chief Financial Officer and corporate
designee of TBF, a true and correct copy of which is attached hereto and incorporated by
reference herein as Exhibit “W,” pp. 96-7, lines 24-5_)

42. Finally, TBF acted carelessly in failing to pursue any reasonable legal efforts to
collect on the Reinharts’ obligation by either confessing judgment against the Reinharts or
foreclosing on the property.

43. Penn Liberty, as the named Primary Residence-Mortgagee, is the only party

entitled to the proceeds of the Erie Policy.

 

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 10 of 24

44. Neither Sovereign nor TBF as its successor in interest are entitled to proceeds
under the Erie Policy as neither were a named beneficiary under the policy.

45. A nrc insurance contract is personal in nature and does not run with the insured
property. Accordingly, where a policy of fire insurance is made expressly payable to a second
mortgagee, the second mortgagee is entitled to the policy proceeds in preference to the holder of

a Hrst mortgage who is not listed as a loss payee under the policy. Midland Lumber & SuDDlV v.

 

J.P. Builders, 265 N.J. Super. 246, 626 A.2d 89, 1993 N.l. Super. LEXIS 672 (Law Div. 1993);

See, Michael E. Black Profit Sharing Plan v. Stephens. 973 S.W.2d 451, l998 Tex. App. LEXIS

 

4763, 98:32 Tex. Civil Op. Serv. 169 (Tex. App. Amarillo 1998).
46. Plaintiff has failed to produce any evidence to support the existence of an
equitable lien.

Wl-IEREFORE, Defendant respectfully requests that summary judgment be entered in
favor of Penn Liberty Banlc and that Plaintiff, TBF Financial, LLC’s claims against Penn Liberty
be dismissed with prejudice

Respectfully submitted,

CONNOR, WEBER & OBERLIES
/s/ William J. Weber Jr.

William J. Weber, Jr., Esquire

Franl<lin R. Strol<off, Esquire

Mary Ellen F. Pina, Esquire

Suite lC47, 2401 Pennsylvania Avenue
Philadelphia, PA 1913 0

Telephone: 215~978-2900

Attomeys for Defendant,
Penn Lib erty Banl<

 

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 11 of 24

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTER_N DISTRICT OF PENNSYLVANIA

 

TBF FINANCIAL, LLC : ClVlL ACTION NO. l3-cv-276
520 Lake Cook Rd., Suite 510 '
Deerfield, IL 60015

Plaintiff
v.
PENN LlBERTY BANK
724 West Lancaster Ave., Suite 210
Wayne, PA 19087

Defendant

 

BRIEF IN SUPPORT 'OF
MOTION FOR SUMMARY JUD GMENT OF
DEFENDANT PENN LIBERTY BANK

 

I. [NTRO])UCTION

ln the present action, Plaintiff, TBF Financial, LLC (hereinafter referred to as “Plaintiff”
or “TBF”), without any factual or legal basis, seeks the imposition of an equitable lien on the
proceeds of a fire insurance policy on which it was not identified as a mortgagee or loss payee.
Not a scintilla of evidence has been produced to establish an equitable lien owed to Plaintiff.
The factual circumstances underlying Plaintiff’ s claims and the procedural background of the

present action are set forth in detail in the instant motion for summary judgment

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 12 of 24

II. SUMMARY OF ARGUMENT

Plaintiff has failed to sustain the burden of proof necessary to withstand the instant
motion for summary judgment Specifically, TBF has failed to establish that it is entitled to an
equitable lien on the subject insurance proceeds. TBF cannot meet its burden of proof and it
cannot establish l) that no adequate remedy at law exists; and, 2) that Defendant, Penn Liberty
Bank (hereinafter referred to as “Defendant” or “Penn Liberty”) is unjustly enriched if
equitable relief is not awarded to Plaintiff. Further, Plaintiff is not entitled to the imposition of
an equitable lien to relieve TBF of the consequences of the carelessness of its predecessor in
interest ln addition, a contract of fire insurance is personal in nature and does not run with the
insured property. Therefore, TBF has no claim to the proceeds under the Erie Policy on which

Penn Liberty was the sole named mortgagee

III. SUMMARY .]UDGMENT STANDARD

A party is entitled to summary judgment when “the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
law.” Fed. R. Civ. Pro. 56(a). For a fact to be “material,” it must affect the outcome of the suit
nom a substantive standpoint and be genuinely in dispute Anderson v. Liberty Lobbv, lnc.1
477 U.S. 242, 249, 91 L. Ed 2d 202, 106 S. Ct. 2505 (1986). An issue of fact is "genuine" only
when there is sufficient evidence from which a reasonable jury could ind in favor of the non-
moving party regarding the existence of that fact. § ln order for the non-moving party to
establish the existence of relevant factual disputes, it is not entitled to rely merely upon the
allegations it has made or its denial of facts but, rather, by affidavit or otherwise, must

demonstrate specific facts showing a genuine factual issue to be resolved at trial. lf the non-

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 13 of 24

moving party fails to satisfy this burden, summary judgment shall be entered against the non-

moving party. Fed. R. Civ. Pro. 56(e).

IV. ARGUMENT

A. PLAINTIFF HAS AN ADEQUATE REl\/IEDY AT LAW WHICH
PRECLUDES THE ll\/lPOSlTlON OF AN EQUITABLE LlEN.

ln order to prevail on its claim for equitable relief, Plaintiff must establish that
there is no adequate remedy at law and that the failure to impose equitable relief would lead to
the unjust enrichment of Defendant See1 Weinstein v. JP l\/lorgan Chase/Chase Fin., 2013 U.S.
Dist. LEXlS 65937 (E.D. Pa. May 8, 2013); Harold v. McGann, 406 F. Supp. 2d 562 (E.D. Pa.
2005).

l. Plaintiff Has an Adequate Remedv at Law.

Pennsylvania law provides that equitable relief will not be granted where
there is an adequate remedy at law consisting of damages Harold v. McGann, 406 F. Supp. 2d
562, 576 (E.D. Pa. 2005)(citing Goadbv v. Philadelnhia Elec. Co., 639 F.2d ll7 (3d Cir.
1981)). Stated otherwise, the existence of an adequate legal remedy precludes a party from
invoking the equity powers of a court. w Cabot v. Jamie Record Co., 1999 U.S. Dist. LEXlS
5549 at *19, No. 96~cv-4672 (E.D. Pa. 1999).

'l`he Pennsylvania Supreme Court, in 'l`rachtenburgr v. Sibarco Stations. lnc., 477 Pa. 517,
384 A.2d 1209, 1978 Pa. LEXIS 934 (1978), opined that an award of money damages
constituted an adequate remedy at law and , therefore, the trial court had improperly invoked
equity jurisdiction when it ordered the specific performance of a contract for the sale of real
property. ln Trachtenburg, the appellant buyer contracted with appellee sellers to purchase real

property on which it intended to construct a service station The purchase was contingent upon

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 14 of 24

appellant’s receipt of a building permit. Appellant was unable to secure the necessary permit
and appellees filed a complaint in equity seeking specihc performance of the contracts of sale
and money damages The trial court entered judgment on behalf of the appellee sellers for
specific performance and for money damages The Supreme Court of Pennsylvania reversed
and remanded the judgment, holding that the appellees’ remedy at law (i.e. payment of the
purchase price under the contracts) was adequate and complete Accordingly, the trial court
erred in invoking equity jurisdiction

ln the present case, TBF has an adequate and complete remedy at law. In fact, Plaintiff
has more than one legal remedy available to it. First, Plaintiff has the ability to foreclose on the
property. TBF, having purchased all of Sovereign’s right, title and interest in the Sovereign
Note and l\/lortgagel, is entitled to institute a mortgage foreclosure action on the subject
property to recoup the monies owed by the Reinharts.2 Second, according to the Forbearance
and Modification Agreement executed by the Reinharts in March 2009, TBF is entitled to
pursue a collection action against the Reinharts and confess judgment against them to recover
the outstanding balance owed3 Clearly, TBF has adequate remedies at law. Based upon the
foregoing, it would be improper for this Honorable Court to invoke its equity jurisdiction in the
present matter and Penn Liberty’s l\/lotion for Summary ludgment must be granted

2. Plaintiff in Unable to Establish that Penn Liberty is Unjustlv Enriched if
TBF is Not Awarded an Equitable Lien.

As set forth above, Plaintiff has failed to meet the first prerequisite to an
award of equitable relief: the lack of an adequate remedy at law. Similarly, Plaintiff cannot

establish the second prerequisite: that failure to impose equitable relief would lead to the unjust

 

1 See Exhibit “A”, 11 12, of the instant motion for summary judgment
2 TBF has secured an appraisal of the property which assessed its value at $400,000 as of lune 19, 2013.
3 See 11 19 of and Ex_hibit “I” to the instant motion for summary judgment

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 15 of 24

enrichment of one of the parties See, Weinstein v. JP l\/lorgan Chase/Chase Fin., 2013 U.S.
Dist. LEXIS 65937 (E.D. Pa. May 8, 2013); Harold v. McGann, 406 F. Supp. 2d 562 (E.D. Pa.
2005)

ln Weinstein v. JP l\/lorgan Chase/Chase Fin., 2013 U.S. Dist. LEXIS 65937 (E.D. Pa.
l\/lay 8, 2013), the court refused to impose an equitable lien on funds held in a bank account due
to the plaintiff s failure to establish that the bank had been unjustly enriched ln that case, the
Weinsteins bought a piece of land and engaged l\/lasterpiece to construct a house on the
property. They obtained a construction loan nom Chase to finance the proj ect. Prior to
completion of the proj ect, Masterpiece filed for bankruptcy and its bank, Wilmington Trust,
seized money from Masterpiece’s account and used the funds to pay off l\/lasterpiece’s
outstanding debt obligations unrelated to the construction of the Weinsteins’ residence The
Weinsteins asserted that they were entitled to the imposition of an equitable lien on the funds
held by Wilmington Trust. At the outset of its analysis, the Weinstein court noted that an
equitable lien is a remedy “imposed to protect against and disgorge any unjust enrichment.”
Weinstein, 2013 U.S. Dist. LEXIS 65937, at * 14 (citing HCB Contrs. v. Rouse & Assocs.,
1992 U.S. Dist. LEXIS 9916 at *30 (E.D. Pa. 1992)). Concluding that plaintiffs’ blanket
allegation that Wilmington Trust had been unjustly enriched was far too attenuated to support
an award of equitable relief, the court refused to impose an equitable lien on the funds held by
Wihnington Trust.

Similarly, in the present case, TBF has failed to establish that Penn Liberty has been
unjustly enriched ln September, 2008, Sovereign and Penn Liberty were both served with a

Notice of Cancellation of the homeowners’ insurance policy which State Farm had issued

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 16 of 24

covering the subject property.4 Penn Liberty acted diligently to ensure that the Reinharts
fulfilled their obligation under the Penn Liberty Mortgage to maintain fire and extended
insurance on the property for the benefit of Penn Liberty. Subsequently, when the Reinhart
residence was destroyed by Ere, Penn Liberty submitted a claim under the Erie Policy for the
insurance proceeds to which it was contractually entitled5 and said proceeds were paid out by
]~Erie.6 Clearly, TBF has not, and cannot, establish the second prerequisite to an award of
equitable relief, i.e., that Penn Liberty was unjustly enriched by receipt of the insurance
proceeds to which it was contractually entitled7
B. SOVEREIGN’S CARELESS CONDUCT PRECLUDES AN AWARD OF
EQUITABLE RELIEF.
Pursuant to the terms of the Asset Sale Agreement, TBF purchased “all right, title

and interests of [Sovereign] in, to and under”8

the Sovereign Assets, including the Reinhart
loan. Accordingly, with regard to the collection of any amounts owing under the Reinhart
loan, TBF’s rights are limited to those which Sovereign would have been able to pursue as of
the date of execution of the Asset Sale Agreement.

Courts sitting in equity will not relieve a party from the consequences of an error due

to its own carelessness or ignorance when means were available which would have enabled the

party to avoid the mistake if reasonable care had been exercised First Federal Sav. & Loan

 

Ass’n. v. Swift, 457 Pa. 206, 321 A.2d 895, 1974 Pa. LEXIS 833 (1974); 1313466 Ontario.

 

lnc. v. Carr, 2008 PA Super 135, 954 A.2d l, 2008 Pa. Super. LEXIS 1455 (Pa. Super. Ct.

2008); reh’g denied 2008 Pa. Super. LEXIS 2978 (Pa. Super. Ct. July 7, 2008); reh ’g denied

 

4 See 11 17 of and Exhibit “H” to the instant motion for summary judgment.

5 See 11 22 of the instant motion for summary judgment

6 See 11 23 of the instant motion for summary judgment

7 For a more detailed discussion of Penn Liberty’s entitlement to the proceeds under the Erie Policy see section C,
below.

gSee 11 28 of and Exhibit “P” to the instant motion for summary judgmentl

6

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 17 of 24

2008 Pa. Super. LEXIS 3012 (Pa. Super. Ct. Aug. 26, 2008). ln First Federal Sav. & Loan

 

Awss:rij, the plaintiff (FFSLA) held the mortgage on a piece ofproperty. Taxes on the property
became delinquent and FFSLA was notified of the date on which the property was to be sold at
judicial sale Based upon misinformation received nom a third party, FFSLA did not attend
the judicial sale and the property was sold to Mr. Swift fi‘ee and clear of all liens, mortgages
and charges FFSLA instituted an equitable proceeding to set aside the judicial sale and the
trial court granted the requested relief. Upon review of the case, the Supreme Court of
Pennsylvania began its analysis noting that "courts of equity will not relieve a party from the
consequences of an error due to his own ignorance or carelessness when there were available
means which would have enabled him to avoid the mistake if reasonable care had been
exercised " First Federal Sav. & Loan Ass’n., 457 Pa. 206, 213, 321 A.2d 895, 1974 Pa.

LEXIS 833, at * 9-10 (1974). (citing Home Owners1 Loan Corp. v. Crouse. 151 Pa. Superior

 

Ct. 259, 263, 30 A.2d 330, 332 (1943)) ln the matter before it, the court noted that had FFSLA
sent its representative to the sale on the date specified in the notice provided, its rights would
have been adequately protected The Court concluded that the “’mistake of fact’ alleged by
First Federal is precisely the sort of mistake which cannot provide a basis for equitable relief”
First Federal Sav. & Loan Ass’n._ 457 Pa. 206, 212, 321 A.2d 895, 1974 Pa. LEXIS 833, at * 9
(1974). Accordingly, the court reversed the decree setting aside the judicial sale of the
property.

ln this case, Sovereign acted carelessly in not taking the appropriate steps to
confirm that there was insurance coverage on the property listing Sovereign as a mortgagee
Now, TBF is asking this Honorable Court to relieve Plaintiff from the consequences of

Sovereign’s carelessness However, as TBF’s rights to collect under the Reinhart loan are no

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 18 of 24

greater than Sovereign’ s, it would be improper for this Honorable Court to relieve Plaintiff of
the consequences of Sovereign’s carelessness ln addition, TBF itself was careless in failing to
exercise due diligence prior to the purchase of the Reinhart loan and in failing to pursue
reasonable remedies for the collection of the obligation For these reasons it would be
improper for thus l~lonorable Court to relieve TBF of the consequences of Sovereign’s and its
own carelessness
C. PLAINTth HAS NO RIGHT TO THE PROCEEDS FROl\/l AN lNSURANCE
POLICY ON WHICH lT lS NOT A NAMED MORTGAGEE.
There is no factual or legal basis to establish a right by Plaintiff to the receipt of
the proceeds under an insurance policy on which it is not named
Under Pennsylvania law, “a contract of insurance is for the benefit and protection of the
insureds only.” Banos v. State Farm lns. Co., 2007 U.S. Dist. LEXIS 75189, at * 4 (E.D. Pa.
Oct. 10, 2007)(citing Fran and John's Doylestown Auto Center, lnc. v. Allstate lns. Co., 432 Pa.

Super. 449, 638 A.2d 1023, 1027 (Pa. Super. 1994)). ln Banos, the relevant fire insurance

 

policy was issued in the name of two (2) of six (6) siblings who jointly owned a piece of
property. The residence burnt down and State Farm paid the policy proceeds to the named
insureds only. The remaining four (4) siblings brought an action against the insurer alleging
fraud, negligence and bad faith, seeking equity, reformation and punitive damages The United
States District Court for the Eastern District of Pennsylvania granted State Farms’ motion to
dismiss the claim for equitable relief, for failure to state a claim upon which relief may be
granted

Similarly, other courts have held that a contract of fire insurance is personal to the

named insured and does not run with the property covered by the policy. Accordingly, the

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 19 of 24

holder of a lien on the insured property is not entitled to fire insurance proceeds simply because
of its lien. Midland Lumber & Supplv v. J.P. Builders, 265 N.J. Super. 246, 626 A.2d 89, 1993
N.J. Super. LEXIS 672 (Law Div. 1993). Because of the personal nature of a contract of
insurance if an insurance policy is made expressly payable to a second mortgagee the second
mortgagee is entitled to the policy proceeds in preference to the holder of a first mortgage who
is not listed as a loss payee under the policy. l_d

In Micllgnd, the court was faced with the question of whether a subordinate lien holder
named as a loss payee was entitled to the insurance proceeds in preference to the holder of a
superior lien on the encumbered real estate The court began its analysis by recognizing that a
mortgagee has an insurable interest in mortgaged property and it is common for mortgage
agreements to provide for the maintenance of insurance for the benefit of the mortgagee
However, the mortgagee must take all steps necessary to confirm insurance coverage for its
own benefit. Thus, where there is more than one mortgage on a specific piece of property and
only one mortgagee is listed as a loss payee under the policy, the named mortgagee is entitled
to the proceeds under the policy regardless of the priority of its lien. Accordingly, the Midlgnd
court found that the second mortgagee was entitled to the policy proceeds over the first
mortgagee who was not listed as a loss payee under the policy. The same conclusion was
reached in Michael E. Black Profit Sharing Plan v. Stephens, 973 S.W.2d 451, 1998 Tex. App.
LEXIS 4763, 98:32 Tex. Civil Op. Serv. 169 (Tex. App. Amarillo 1998), a case based upon a
similar factual scenario.

Penn Liberty had an insurable interest in the property and it took all necessary steps to
ensure that coverage was in place to protect its rights The Erie Policy was a personal contract

for the benefit of Penn Liberty. Contrary to the position being asserted by TBF, the Erie Policy

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 20 of 24

did not run with the property. Accordingly, the proceeds of said policy are rightfully payable

only to the named mortgagee Penn Liberty.

D. PENN LIBERTY HAD` NO DUTY TO ENSUR_E THE EXISTENCE OF
lNSURANCE FOR THE BENEFIT OF THE FlRST MORTGAGEE.

Penn Liberty, as the second mortgagee had no duty to ensure the existence of

insurance coverage for the benefit of Sovereign, the first mortgagee

The Superior Court of Pennsylvania was faced with the issue of the duty which one bank
owes to another in Commerce Bank v. First Union Nat'l Bank, 2006 PA Super 305, 911 A.2d
133, 2006 Pa. Super. LEXIS 3765 (Pa. Super. Ct. 2006). In that case, Commerce Bank alleged
that First Union knew or should have known that one of its customers was operating a check-
kiting scheme using its First Union account However, Commerce alleged, First Union failed
to issue a Suspicious Activity Report (“SAR”), as required under federal law, for fear that
closing the account would result in a multi-million-dollar loss. The same customer
subsequently approached Commerce for banking services and provided information on its still
active account at First Union. Relying on the history from the First Union account, Commerce
allowed the customer to open an account and, within a few weeks, discovered the operation of a
check~kiting scheme from the Commerce account. Ultimately, Commerce sustained a
c39900,000 loss as a result of the check-kiting activity. Commerce filed suit against First Union
alleging, among other causes of action, unjust enrichment and seeking the imposition of a
constructive trust The trial court granted summary judgment in favor of First Union on both
claims With regard to the unjust enrichment claim, the court opined that Commerce was

unable to establish that First Union unjustly retained any of Commerce’s funds The court

10

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 21 of 24

concluded that Commerce’s request for the imposition of a constructive trust necessarily failed
because the unjust enrichment claim lacked merit

Commerce Bank appealed and the Superior Court of Pennsylvania affirmed the grant of
summary judgment on both causes of action. ln support of its decision, the court set forth a
detailed analysis as to why First Union did not owe a duty to Commerce under the
circumstances At the outset of its discussion of this issue, the Commerce Bank court noted
that “[i]n determining the existence of a duty of care, it must be remembered that the concept of
duty amounts to no more than the sum total of those considerations of policy which led the law
to say that the particular plaintiff is entitled to protection from the harm suffered[.] To give it
any greater mystique would unduly hamper our system of jurisprudence in adjusting to the
changing times “ Commerce Bank, 2006 PA Super 305, 911 A.2d 133, 137, 2006 Pa. Super.
LEXIS 3765, * at 8 (quoting Althaus v. Cohen, 562 Pa. 547, 756 A.2d 1166, 1168-89 (Pa,
2000)).

The Commerce Bank court concluded that the following factors supported the finding
that First Union did not owe a duty to Commerce. First, there was no discernible relationship
between the two banks so as to impose a special duty of care Second, Commerce failed to
establish that it was foreseeable that any act by First Union would lead to the harm suffered
Third, there was no great public interest to be served by imposing a duty under the
circumstances Fourth, and most importantly, the consequences of imposing such a duty would
prove onerous As to this final factor, lthe court stated ”[w]e decline to make banks the
guarantors of their clients' trustworthiness Moreover, imposing liability would inevitably force
banks to close or restrict the clients‘ accounts on the least degree of suspicion, thereby

alienating their customers, in order to avoid unspecified liability This factor strongly weighs

ll

 

Case 2:13-cv-OO276-PD Document 36 Filed'10/28/13 Page 22 of 24

against a finding of a duty”. Commerce Bank, 2006 PA Super 305, 911 A.2d 133, 142, 2006
Pa. Super. LEXIS 3765, * at 23.

Similarly, the facts of the case presently before the court do not support the finding of a
duty of care owed by a second mortgagee to ensure that a first mortgagee has adequately
protected its own rights As in Commerce Bank, there is no discernible relationship between
Penn Liberty, on the one hand, and TBF standing in the shoes of Sovereign on the other.
Second, it would be unreasonable to expect Penn Liberty to foresee that the Erst mortgagee
would fail to take the steps necessary to secure its interest in the subject collateral Third, no
great public interest would be served by the finding of a duty under these circumstances
Finally, and equally as importantly as in the Commerce Bank case, the onus that would be
imposed if a second mortgagee was required to ensure that the first mortgagee had properly
secured its rights would be insurmountable for the later, and would impose significant and
adverse consequences on the secondary mortgage market as a whole Plaintiff has not, and
cannot, advance any policy considerations that would justify protecting TBF from the harm
caused by its predecessor in interest ln fact, all policy arguments counsel against the
imposition of such a duty. As in the Cornmerce Bank case, this Honorable Court should refuse

to place a duty on Penn Liberty to ensure the rights of the first mortgagee in this matter.

V. CONCLUSION

Based upon the evidence presented Plaintiff has failed to sustain the burden of proof
necessary to withstand the instant motion for summary judgment Specifically, TBF has failed
to establish its entitlement to an equitable lien in light of (1) the existence of an adequate legal

remedy; and, (2) the absence of the unjust enrichment of any party Further, equitable relief is

12

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 23 of 24

not appropriate to relieve Plaintiff of the consequences of Sovereign’s carelessness and TBF’s

own careless Finally, as a contract of insurance runs with the property, the sole entity entitled

to the proceeds under the Erie Policy is Penn Liberty, the named mortgagee Clearly, TBF has

failed to establish a valid claim for equitable relief Accordingly, the present action must fail.

WHEREFORE, Defendant respectfully requests that summary judgment be entered in

favor of Penn Liberty Bank and that Plaintiff, TBF Financial, LLC’s claims against Penn

Liberty be dismissed with prejudice

13

Respectfully submitted,
CONNOR, WEBER & OBERLIES

/s/ William J. Weber Jr.

William J. Weber, Jr., Esquire

Franklin R. Strokoff, Esquire

Mary Ellen F. Pina, Esquire

Suite 1C47, 2401 Pennsylvania Avenue
Philadelphia, PA 1 913 0

Telephone: 215-978-2900

Attorneys for Defendant,

Penn Liberty Bank

 

 

Case 2:13-cv-OO276-PD Document 36 Filed 10/28/13 Page 24 of 24

IN UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

TBF FINANCIAL, LLC,

 

Plaintiff
v.
CIVIL ACTION
PENN LIBERTY BANK, :
Defendant : No. l3-cv-276
CERTIFICATE OF SERVICE

 

l, William J. Weber, Jr., Esquire, attorney with the law firm of Connor Weber & Oberlies
hereby certify and affirm that a copy of the attached Motion For Summary Judgment was served
via the Court’s filing system and electronic mail and U.S. Mail postage prepaid this 28th day of
October, 2013, to the following:

l\/lonica l\/lathews Reynolds, Esquire
Spector, Gadon & Rosen, PC
1635 Marka st., 7th rt
Philadelphia, PA 19103

mreynoldsglaws gr.com

William .l. Weber. Jr., Esquire / ss
WlLLIAl\/l J. WEBER, JR.,, ESQUIRE

CONNOR WEBER & OBERLIES
171 W. Lancaster Avenue

Paoli, PA 19301

610-640-2811

Atty. l.D. #33137

 

